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             IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF OKLAHOMA

                    MINUTE SHEET OF PROCEEDINGS HELD
                          IN A CIVIL PROCEEDING


UNIVERSITAS EDUCATION, LLC,                      )
                                                 )
                             Plaintiff,          )
vs.                                              )        NO. 14-FJ-0005-HE
                                                 )
AVON CAPITAL, LLC, ET AL.,                       )
                                                 )
                             Defendants.         )

                               CIVIL MOTION HEARING

 Judge Joe Heaton, Presiding                   Date and Time: 12/21/2021 @ 1:30 p.m. to 2:30 p.m.
                                               Total Time: 1 hour


 Lisa Minter, Deputy Clerk                     Cassy Kerr, Court Reporter

Counsel Appearances Plaintiff:               Counsel of Appearances Defendant:

 Timothy Campbell, Esq.,                       Jeffrey Sandberg, Esq.,
 Joseph Manson, Esq.,                          Melvin McVay, Esq.,
                                               Turner Kilcik, Esq.,
                                               Clayton Ketter, Esq.,

PROCEEDINGS HEARD: Hearing held the movant Universitas’ motion for order
approving receiver’s September and October Fees and Costs [326]; Assist Servicing Group
LLC’s motion for order allowing interpleader of funds [330]; and Universitas’ motion for
release of funds [331]; counsel for the parties present; court hears arguments from counsel;

Hearing Type: ☒Oral Arguments; ☐Non-Evidentiary; ☐ Evidentiary; ☐ Witness
testimony heard; ☐ Exhibits referenced; ☐ Other: __________________________;

Proceedings: the court made findings from the bench; written order to follow. Court
Adjourned.
☐Other matters: ________________________________________________________
